Case 2:04-CV-02318-SHI\/|-tmp Document 33 Filed 08/19/05 Page 1 of 3 Page|D 42

 

IN THE UNITED STATES DISTRICT COURT F"'ED B'Y % D-c-
FOR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN D:vIsION 95 AUG f9 AH 5: 51
was M. GQULD
vINCENT BAss, U~EH!£ U§. F__?FS.TRICT
WfD UF J_'\J, *-,4§34;>;4§3
Plaintiff,
vs. No. 04-2318-Map

FEDERAL EXPRESS ,

Defendant.

 

ORDER AMENDING SCHEDULE

 

Pursuant to defendant's August l, 2005, motion for status
conference in this matter, the court held a conference on August
5, 2005. Appearing pro se was plaintiff Vincent Bass.
Participating on behalf of the defendant was Karen McManus. For

good cause shown, the court amends the schedule as follows:

l. The deadline for completing discovery is February 6,
2006.
2. The deadline for filing potentially dispositive motions

is March 6, 2006.

3. The parties Will submit a proposed joint pretrial order
by 5:00 p.m. on Jun 2, 2006.

4. A pretrial conference Will be held on Friday, June 9,
2006, at 1:30 p.m.

5. The jury trial is reset to Monday, June 19, 2006, at

9:30 a.m., and is expected to take 4 days.

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Absent good Cause, the amended schedule set by this order

Will not be modified or extended.

So ORDERED this lg}¢day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DIS’I‘RICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:04-CV-023 l 8 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

